B2500E (Form 2500E) (12/15)



                                   United States Bankruptcy Court
                                     Northern District Of Ohio

In re Northwest Capital Investors, LLC ,                        )        Case No. 22-30036-jpg
             Debtor*                                            )
                                                                )        Chapter 7
                                                                )


                        SUMMONS TO DEBTOR IN INVOLUNTARY CASE

To the above named debtor: Northwest Capital Investors, LLC
                                7644 Kings Pointe Road, Toledo, OH 43617
       A petition under title 11, United States Code was filed against you in this bankruptcy court on
   January 13, 2022    (date), requesting an order for relief under chapter  7    of the Bankruptcy
Code (title 11 of the United States Code).

       YOU ARE SUMMONED and required to file with the clerk of the bankruptcy court a motion
or answer to the petition within 21 days after the service of this summons. A copy of the petition is
attached.

                  Address of the clerk:          Clerk of Courts
                                                 U.S. Bankruptcy Court for the
                                                   Northern District of Ohio at Toledo
                                                 1716 Spielbusch Avenue
                                                 Toledo, OH 43604-5363

At the same time, you must also serve a copy of your motion or answer on petitioner’s attorney.

                  Name and Address of Petitioner’s Attorney:                 James P. Silk, Jr. (0062463)
                                                                             SPENGLER NATHANSON P.L.L.
                                                                             900 Adams Street
                                                                             Toledo, OH 43604


If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 1011(c).

If you fail to respond to this summons, the order for relief will be entered.



                                                                                         (Clerk of the Bankruptcy Court)

         Date:                                         By:                                     (Deputy Clerk)




* Set forth all names, including trade names, used by the debtor within the last 8 years. (Fed. R .Bankr. P. 1005).




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                                CERTIFICATE OF SERVICE

        I,                                  (name), certify that on
(date), I served this summons and a copy of the involuntary petition on
(name), the debtor in this case, by [describe the mode of service and the address at which the
debtor was served]:




       If service was made by personal service, by residence service, or pursuant to state law, I
further certify that I am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning which service of process was made.

       Under penalty of perjury, I declare that the foregoing is true and correct.


       Date                     Signature

               Print Name:

               Business Address:




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